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                              UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


ILYANA ROSARIO,on behalf of herself             CASE NO. I:21-cv-00391
and all others similarly situated,
                                                JUDGE DONALD C. NUGENT
        Plaintiff,
                                                MAGISTRATE JUDGE WILLIAM H.
            vs.                                 BAUGHMAN,JR.

SHURTAPE TECHNOLOGIES,LLC,
                                                FINAL ORDER AND JUDGMENT
       Defendant.                               ENTRY




       Plaintiff Ilyana Rosario ("Representative Plaintiff, "Class Representative," or "Plaintiff),

on behalf of herself and the members of proposed settlement Class ("Class Members" or

"Plaintiffs"), and Defendant Shurtape Technologies, LLC ("Defendant" or "Shurtape") have

moved this Court to approve, as fair and reasonable, a Class Action Settlement Agreement

("Settlement Agreement") between Plaintiff and Defendant pursuant to Fed. R. Civ. P. 23(e).

       Having reviewed the Settlement Agreement, as well as the Parties' Motion for Final

Approval of Class Action Settlement Agreement("Motion for Approval"), the Declaration ofthe

Third-Party Administrator appended thereto, and the pleadings and papers on file in this Action,

and for good cause established therein, the Court enters this Final Order and Judgment Entry

("Final Order") and hereby ORDERS,ADJUDGES AND DECREES as follows:

       1.         Unless otherwise defined, all terms used in this Final Order have the same

meanings as defined in the Settlement Agreement.
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        2.     On February 18, 2021, Representative Plaintiff llyana Rosario filed this Action as

a collective action under the Fair Labor Standards Act("FLSA"), 29 U.S.C. §§ 201-219, as well

as a "class action" pursuant to Fed. R. Civ. P. 23 under the Ohio Minimum Fair Wage Standards

Act("OMFWSA"), O.R.C. § 4111.03. On April 1, 2021, Representative Plaintiff filed her First

Amended Complaint alleging the same causes of action, but narrowing the scope of the alleged

violations.


       3.      Between April 2021 and May 2021, the Parties engaged in informal yet

comprehensive discovery regarding Plaintiffs' claims and Defendant's defenses to such claims.

This included a complete analysis of each Class Member's overtime damages. Between May

2021 and June 2021, the Parties engaged in settlement negotiations, and ultimately reached an

agreement on June 9, 2021 to settle the Action on the terms set forth in the attached Settlement

Agreement.

       4.      The Parties' Motion for Final Approval was filed on September 9, 2021.

       5.      The Settlement Agreement proposes to settle claims of Representative Plaintiff

and the proposed Class. The proposed class settlement is subject to approval by the Court

pursuant to Fed. R. Civ. P. 23(e).

       6.      The issues in this case were contested. A Settlement Agreement was achieved

after arms-length and good faith negotiations between the Parties and their counsel, who have

extensive experience litigating FLSA and OMFWSA claims.

       7.      On July 12, 2021, this Court entered a Preliminary Order provisionally certifying

the Class pursuant to Rule 23(a) and (b)(3), granting preliminary approval of the Settlement

Agreement Class pursuant to Rule 23(e), and approving the form, content, and method of

distribution of notices to class members ofthe pendency of this Action, the proposed settlement,




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and the date of the Fairness Hearing ("Class Notice"). This Court provisionally approved

Representative Plaintiff Ilyana Rosario as class representative of the Class, and her Service

Award, and appointed as class counsel Anthony J. Lazzaro, Chastity L. Christy, and Lori M.

Griffin of The Lazzaro Law Firm, LLC, and the payment of attorneys' fees to Plaintiffs'

Counsel.


       8.      On July 14, 2021, Defendant sent the required notices to state and federal

authorities pursuant to 28 U.S.C. § 1715(b) ofthe Class Action Fairness Act("CAFA").

       9.      The Parties have filed with the Court a Declaration verifying that the Class Notice

was distributed to the members ofthe Class in the form and manner approved by the Court.

        10.    The Fairness Hearing was convened as noticed on September 13, 2021 at 9:00

AM.


        11.    The Court finds that the members of the Class were given notice of the pendency

of this Action, the proposed settlement, and the date of the Fairness Hearing as ordered by the

Court. The Court further finds that the notice was reasonable and the best notice practicable, and

satisfied all ofthe requirements of Civ. R. 23 and due process.

       12.     As to Representative Plaintiff and the Class, the Court finds that the proposed

settlement satisfies the standard for final approval of a class action settlement under Fed. R. Civ.

P. 23(e). The proposed settlement class satisfies Rule 23(a)'s requirements of commonality,

numerosity, typicality, and adequacy of representation, as well as Rule 23(b)'s requirements of

predominance and superiority.        Representative Plaintiff Ilyana Rosario is an adequate

representative of the Class in that she is a member of the class and possesses the same interests

and suffered the same injuries as the other Class Members. The definition of the Class

encompasses persons with like factual circumstances and like claims. The settlement payments




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made available to the members of the Class are commensurate with their alleged claims. The

Court finds that the proposed settlement is fair, reasonable, and adequate as to the Class, and

qualifies for final approval under Rule 23(e).

       13.     The Court approves the Settlement Agreement and orders that it be implemented

according to its terms and conditions and as directed herein.

       14.     The Court approves the method of calculation and proposed distribution of

settlement payments. The Class Settlement Payment is to be distributed to the Representative

Plaintiff and members of the Class, in Individual Payments, which are calculated proportionally

on each Class Member's overtime damages resulting from Defendant's failure to include in the

calculation of their regular rates "all remunerations for employment paid to, or on behalf of, the

employee," such as the bonuses during the Calculation Period. The Parties have submitted the

proposed Schedule of Individual Payments to the Court for approval. The Court approves the

Schedule of Individual Payments and orders that such payments be distributed in the manner,

and upon the terms and conditions, set forth in the Settlement Agreement.

       15.     The Court approves the Service Award to Representative Plaintiff in recognition

of her service in this Action, and orders that such payment be made in the manner, and upon the

terms and conditions, set forth in the Settlement Agreement.

       16.     The Court approves the payment of attorneys' fees as provided in the Settlement

Agreement and the reimbursement of expenses to Class Counsel in the amount set forth in the

Settlement Agreement, and orders that such payments be made in the manner, and upon the

terms and conditions, set forth in the Settlement Agreement.




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       17.     The Court approves the separate payments made to Opt-In Plaintiffs Daniel

Anderson and Anthony LeVau in eonsideration of their signing separate settlement agreements

and general releases.

       18.    Representative Plaintiff and the Class Members release elaims against Defendant

as provided in the Settlement Agreement. Representative Plaintiff also releases claims as

provided in the separate Settlement and Release Agreement entered into between Representative

Plaintiff and Defendant. Daniel Anderson and Anthony LeVau each release claims as provided

in their separate Settlement Agreement and General Release entered into separately between

them and Defendant.


       19.    The Court DISMISSES THIS ACTION WITH PREJUDICE.


       20.    The Parties are to bear their respective attomeys' fees and costs except as

provided in the Settlement Agreement.

       21.    The Court retains jurisdiction over this Action for the purpose of enforcing the

Settlement Agreement.

       22.    To allow the required 90 days to expire following issuance of the CAFA notices

sent by Defendant, absent a request for a hearing by the Ohio and/or United States Attorney

Generals, this Final Order shall be final and effective on October 14, 2021 and entered by the

Clerk of Court..


       IT IS SO ORDERED this            day ofSkPTSM&ER _, 2021.



                                                   Honorable Donald C. Nugei^f j
                                                                       SJn(Tpn/\

                                                   United States District Court Judge




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